    Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 1 of 23 Page ID #:7544

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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
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                                      CIVIL MINUTES - GENERAL

    Case No.       CV 09-2901 PSG (Ex)                                      Date     July 2, 2009
    Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.


    Present:       The Honorable Philip S. Gutierrez, United States District Judge


            Wendy K. Hernandez                          Not Present                            n/a
               Deputy Clerk                            Court Reporter                        Tape No.

             Attorneys Present for Plaintiff(s):               Attorneys Present for Defendant(s):

                        Not Present                                             Not Present
    Proceedings:        (In Chambers) Order Granting Securities and Exchange Commission’s
                        Application for Preliminary Injunction

      Pending before the Court is Security and Exchange Commission’s Application for
Preliminary Injunction. The Court heard oral argument on this matter on June 29, 2009. After
considering the moving and opposing papers, as well as all oral argument, the Court GRANTS
the Application for Preliminary Injunction.

I.          Background

            A.     Procedural Background

       On April 24, 2009, plaintiff Securities and Exchange Commission (the “SEC”) filed a
complaint for violations of the federal securities laws against defendants Danny Pang (“Pang”),
Private Equity Management Group, LLC (“PEMG”), and Private Equity Management Group,
Inc. (“PEMG, Inc.”) (collectively, “Defendants”).1 That same day, the SEC applied ex parte,
pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, for a Temporary Restraining
Order prohibiting Defendants from committing violations of the antifraud provisions of the
federal securities laws, and for orders freezing assets, appointing a temporary receiver over the
entity defendants, repatriating assets, requiring accountings, prohibiting the destruction of
documents, granting expedited discovery, and surrendering the passport of Pang. In addition,
the SEC applied for an order to show cause re preliminary injunction and appointment of a
permanent receiver.


1
    For ease of presentation, the Court will refer to the entity defendants as “PEMGroup.”
CV-90 (06/04)                               CIVIL MINUTES - GENERAL                                 Page 1 of 23
 Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 2 of 23 Page ID #:7545

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                  Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

       On April 27, 2009, the Court granted the SEC’s ex parte application and ordered the
parties in this case to appear before the Court on May 11, 2009 to show cause why a preliminary
injunction should not be granted and a permanent receiver not appointed. Then, on May 8, 2009,
the Court reset the present motion for hearing for June 15, 2009. Subsequently, the parties
submitted a joint request to move that hearing date from June 15, 2009 to June 29, 2009. Oral
argument was then held on this matter on June 29, 2009.

         B.     Factual Background

                1.    The Cast of Characters

        Pang is the president and one of the directors of PEMG, Inc. Cebeci Supp. Decl. ¶ 3. He
is also PEMG, Inc.’s largest shareholder. Opp. 2:26-27.

       PEMG, Inc. is the parent company of PEMG. Id. at 2:28. Both entity defendants are
private United States companies. Id. at 2:27-3:1.

       Wilbur B. Quon (“Quon”) is a certified public accountant who is presently employed by
PEMG, Inc. Quon Decl. ¶ 2. He became the Chief Financial Officer of PEMG, Inc. on October
8, 2004, but later resigned from that position at the request of the law firm of Gibson, Dunn &
Crutcher (“Gibson, Dunn”). Id. He is also currently a 6% partner in PEMG, Inc. and has served
as a member of PEMG, Inc.’s Board of Directors since 2004. Id.

      Nasar Aboubakare (“Aboubakare”) was managing director of PEMG, Inc. from 2002
through 2005. Aboubakare Decl. ¶ 3. He also served as the Chief Investment Officer from 2005
through August 2007, and as the President of PEMG, Inc. from 2006 through August 2007, at
which time he was terminated. Id.

       Bob Anderson (“Anderson”) is currently the interim Chairman of PEMG, Inc. Anderson
Decl. ¶ 1. Prior to being appointed to that position, he had been the Chief Operations Officer of
PEMG, Inc., holding that position for roughly two years. Id.

      Sheryl Perez (“Perez”) is the Assistant Vice President and Controller of PEMGroup.
Perez Decl. ¶ 2. She has been working for PEMGroup since November 1, 2006. Id.



CV-90 (06/04)                         CIVIL MINUTES - GENERAL                               Page 2 of 23
    Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 3 of 23 Page ID #:7546

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                                CIVIL MINUTES - GENERAL

    Case No.    CV 09-2901 PSG (Ex)                                     Date    July 2, 2009
    Title       Securities and Exchange Commission v. Private Equity Management Group, Inc.

        Bank Sinopac, Hong Kong Branch (“Bank Sinopac”) is one of the investors in this case.
Bank Sinopac made four investments totaling $177 million with PEMGroup and/or related
entities between February 2004 and October 2006. Kao Decl. ¶ 3.

       Standard Chartered Bank Taiwan Ltd. (“Standard”) is another one of the investors in this
case. In 2006, Standard, as trustee acting on behalf of certain customers, subscribed to a total of
$255 million in Notes issued by a company that the SEC contends is affiliated with Defendants.
Hsin-Tung Decl. ¶ 2.

                2.    The Offerings at Issue

                      a.     General Overview

        Beginning in at least 2004, six entities incorporated in the British Virgin Islands (“BVI”)
conducted a series of offerings through Confidential Private Offering Memoranda (“CPOM”).
Opp. at 3. These entities were as follows: Genesis Voyager Equity Corporation (“GVEC”),
Genesis Voyager Equity II Corporation (“GVEC II”), GVEC Resource (“GVECR”), Genesis
Voyager Resource II (“GVECR II”), GVEC Resource III (“GVECR III”), and GVEC Resource
IV (“GVECR IV”).2 Opp. at 3; cf. Quon Decl. ¶ 3; Aboubakare Decl. ¶ 4. The CPOMs describe
the relationship between the investor and the particular BVI entity. Opp. at 3.

       The CPOMs were issued to an investor group that consists of eight banks/financial houses
and approximately thirty-six high net individuals plus six companies. Receiver’s Second Status
Report (“SSR”) at 2:10-12. The investors have a current outstanding balance of $823 million
plus approximately $4 million in accrued interest for May 2009. Id. at 2:13-14. Each investor
owns investments in thirty tranches that in turn own discrete assets and life settlement policies
creating a pool of investments. Id. at 2:16-18.

                      b.     Bank Sinopac’s Investments


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 The SEC characterizes the BVI entities as special purpose vehicles (“SPV”) of PEMGroup, i.e.,
companies created by PEMGroup for a limited purpose or focus. Often, though not always, a SPV is
owned almost entirely by the sponsoring company. It is Defendants’ position, however, that these BVI
entities are not owned by PEMGroup, but are instead owned by various foreign entities or individuals.
However, as is shown below, there is a definite connection between PEMGroup and the BVI entities, as
evidenced by Pang’s authority to transfer funds from the BVI entities into PEMGroup accounts.
CV-90 (06/04)                          CIVIL MINUTES - GENERAL                                 Page 3 of 23
 Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 4 of 23 Page ID #:7547

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                 Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

       One of the eight banks/financial houses that purchased offerings from the BVI entities is
Bank Sinopac, which made its first investment with GVEC in February of 2004. Kao Decl. ¶ 4
& Ex. 1. The CPOM issued in connection with that offering stated that, among other things, the
offering proceeds would be used to “purchase financial assets of a proprietary nature,” and that
the investments would generate annual interest of approximately six percent. See id. at ¶ 4 &
Ex. 1 at pp. 2 & 4; see also Quon Decl. ¶ 3 (indicating that funds raised in the GVEC offerings
were used to acquire life settlement contracts and would annually generate between
approximately six and seven percent in interest); Aboubakare Decl. ¶¶ 4, 6 (approximately the
same). Bank Sinopac then made other investments with GVEC in July of 2005. Kao Decl. ¶¶ 6-
7 & Exs. 2-3. The CPOM issued in connection with this offering stated that, among other
things, the offering proceeds would primarily be used to invest in “certain assets,” and that the
investments would generate annual interest of approximately seven percent. Id. at ¶ 6 & Ex. 2.
As evidenced by a February 2006 meeting held in PEMGroup’s Irvine, California office between
Bank Sinopac representatives and Anderson and Aboubarake, the underlying assets in Bank
Sinopac’s investments were life settlement contracts. Id. at ¶¶ 9-10.

        In August 2006, Bank Sinopac made an investment with GVEC II. See id. at ¶ 11 & Ex.
6. According to the CPOM issued in connection with this offering, the offering proceeds would
be used “to acquire a portfolio of various infrastructure and timeshare assets and receivables,”
and, like Bank Sinopac’s other investments, Bank Sinopac would receive semi-annual interest
payments. See id. at ¶ 11 & Ex. 6.

        A few months after making this investment—in October of 2006, to be
exact—representatives of Bank Sinopac attended a series of meetings at PEMGroup’s offices in
Irvine, California. Id. at ¶ 14. While there, the representatives of Bank Sinopac met with Pang,
who, along with Anderson and Aboubakare, discussed with the representatives the timeshare
products in the GVEC II investment. Id. It was during this time that the representatives were
brought to Napa, California to see what they were told was one of the timeshare sites underlying
the GVEC II investment. Id. at ¶ 16. Also, during this visit, the representatives received
information about a GVEC II offering concerning life settlement investments. Id. at ¶ 17.

       One month after visiting PEMGroup in California, Bank Sinopac made its fourth
investment. Id. at ¶ 18. This offering, made by GVEC II, concerned life insurance premium
finance investments, and provided that, among other things, Bank Sinopac would receive semi-
annual interest payments in the amount of approximately 6.5 percent. Id.

                      c.    Standard Chartered Bank Taiwan Ltd.’s Investments
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                              Page 4 of 23
 Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 5 of 23 Page ID #:7548

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                   Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.


        Another one of the eight banks/financial houses that purchased offerings from the BVI
entities is Standard. In 2006, Standard subscribed to a total of $255 million in Series A, Series
C, and Series D Notes issued by GVECR IV. Hsin-Tung Decl. ¶ 2. The CPOMs issued in
connection with this offering indicate that GVECR IV will use the “net proceeds from the sale of
the Notes” “to acquire a portfolio of various infrastructure and timeshare assets and receivables.”
Id., Ex. G at p. 3; see also Quon Decl. ¶ 5; Aboubakare Decl. ¶¶ 7-9.

                3.    How Defendants Solicited the Investments

        In soliciting the foregoing investments, Defendants made a number of representations that
are relevant to this case. They are as follows.

                      a.    The “Road Shows”

        PEMGroup frequently made in-person investment presentations to prospective Taiwanese
institutional investors concerning the aforementioned offerings. Aboubakare Decl. ¶ 11. Known
as “road shows,” these presentations were conducted by Pang, Anderson, and Aboubakare. Id.
During these road shows, Pang, Anderson, and Aboubakare made several representations to
potential investors. For instance, they would pitch the offerings as a protected portfolio of
assets, secured by a performance bond or an insurance policy underwritten by an insurance
company that carried an A- or better rating. Id. at ¶ 12. They also represented that, in the case
of the GVEC offerings, their investments would primarily be used to purchase life settlement
contracts and that, in the case of the GVECR IV offerings, their investments would primarily be
used to purchase timeshare-related assets. Id. at ¶ 13. However, they never told investors that
their funds would be used to pay principal or interest for other fund offerings, that funds would
be used for loans to Pang, other entities controlled by him, or to other executives, or that the
funds would be used to purchase aircraft for PEMGroup or for any of PEMGroup’s operating
expenses. Kao Decl. ¶ 28; Aboubakare Decl. ¶ 13.

                      b.    The $108 Million Insurance Policy

       Among other things, investors of the offerings at issue were given materials that
referenced an insurance policy of $108 million that purportedly guaranteed their investments.
Aboubakare Decl. ¶ 25. The policy in place at the time, however, only afforded approximately
$31 million in coverage. Id. & Ex. 1.

CV-90 (06/04)                         CIVIL MINUTES - GENERAL                                Page 5 of 23
 Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 6 of 23 Page ID #:7549

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                   Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

       Also, in 2007, Pang learned that a prospective Taiwanese investor wanted proof of the
$108 million policy. Id. at ¶ 26. As no policy existed in that amount, Pang instructed Anderson
and Aboubakare to obtain coverage in that amount. Id. After telling Pang that they could not
obtain the policy within the time constraints set by Pang (one day), Pang allegedly told Anderson
and Aboubakare that he did not care how they got the policy, so long as there was evidence that
such a policy existed. Id. Aboubakare understood this to mean that he and Anderson were to
create a forged document, which is exactly what he and Anderson subsequently did. Id. at ¶¶
26-27 & Ex. 2.

       After creating the forged document, Anderson and Aboubakare presented the document to
Pang for his approval. Id. at ¶ 27 Pang rejected the first draft, stating that it did not look good
enough, and then requested another draft. Id. After he approved the second draft, Anderson and
Aboubakare transmitted the forged policy to PEMGroup’s Taiwan office for presentation to
investors. Id.

       This forged policy was later shown to several representatives of the Hong Kong branch of
Bank Sinopac, who were visiting PEMGroup at its Irvine office to conduct due diligence in
connection with Bank Sinopac’s investment in certain offerings. Kao Decl. ¶17; see also
Aboubarake ¶ 28. Both Pang and Anderson were present when the forged policy was presented
to these representatives. Aboubakare Decl. ¶ 28.

                      c.    Pang’s Academic and Professional Background

       Pang regularly told existing and prospective investors in PEMGroup’s offerings that he
had graduated and received a degree from the University of California at Irvine (“UCI”), and
that he had previously been employed at Morgan Stanley & Co as a vice president. Kao Decl. ¶
15; see also Cebeci Decl., Ex. 2, at p. 6 (indicating that an investor had been told that Pang had
worked for Morgan Stanley & Co.); Aboubarake Decl. ¶ 34. PEMGroup’s website contained
these same representations. Aboubakare Decl., Ex. 5.

       Apparently, Pang did not make these representations to all investors. See Cebeci Decl.,
Ex. 1, at p.5. Indeed, in a response to an investment questionnaire, Hua Nan Commercial Bank
Co., Ltd., states that it had never heard the aforementioned representations concerning Pang’s
academic and professional background. Id.; see also id., Ex. 2, at p. 6 (indicating that no one
ever represented to Hua Nan Link No. 2 that Pang had attended or received degrees from UCI).

                4.    The HSBC NAV Reports
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                                Page 6 of 23
 Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 7 of 23 Page ID #:7550

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                   Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

       Certain misrepresentations were made after Defendants solicited investors. For instance,
Bank Sinopac received net asset value reports (“NAV reports”) from HSBC Bank USA
(“HSBC”) concerning its investment in GVEC II, stating the investment terms and the current
net asset value per unit. Kao Decl. ¶ 25 & Ex. 14. Because the NAV reports were on HSBC
letterhead, Bank Sinopac understood the reports to be issued by HSBC. Id. at ¶ 25.

       In or about February 2008, a representative of a Bank Sinopac employee contacted
Aboubakare regarding a statement in one of these NAV reports. Aboubarake Decl. ¶ 33 & Ex.
4. This struck Aboubakare as odd because he did not believe that HSBC issued net asset value
statements. Id. at ¶ 33. After contacting an HSBC representative, Aboubarake’s suspicion was
confirmed: HSBC did not issue such statements. Id.; see also Quon Decl. ¶ 31 (“These
documents (“NAV Reports”) appeared on letterhead that included the HSBC logo. However,
these documents were generated internally at PEMGroup.”).

                5.    The Alleged Ponzi Scheme

       The success of the life settlement offerings was dependent upon whether the insureds died
roughly in accordance with information derived from actuarial tables. Aboubarake Decl. ¶ 15.
By mid-2006, it became apparent that the insureds were not dying at the predicted rates. Id. at ¶
16. Consequently, the policies did not pay off sufficient funds to allow the offerings to pay the
principal and interest due to investors. Id. In particular, around this time it became apparent that
the GVEC Preferred Shares, GVEC Preferred Shares A, GVEC Notes A and GVEC Preferred
Shares B1 offerings were low on cash and that, without additional capital, investors would not
receive the interest payments promised to them under these offerings. Id.

        In an attempt to provide these life settlement offerings with sufficient capital to continue
making the promised interest payments to investors, Pang instructed certain PEMGroup
employees to utilize assets belonging to the tranches within the GVECR IV offering to purchase
life insurance policies from several underperforming tranches within GVEC. Id. at ¶¶ 17-18.
The proceeds of the sales of life insurance policies from the GVEC entities to the GVECR IV
entities were then used to pay interest to and repay principal to those investors who had invested
in the underperforming tranches within GVEC. Anderson Decl. ¶ 4; Aboubarake Decl. ¶¶ 17-18.

       Allegedly, in late 2006, Pang told Anderson and Aboubakare, “[W]e are in a $25 million
Ponzi scheme.” Aboubakare Decl. ¶ 22. It is unclear, however, whether this in fact happened.
Peter Paul Mendel (“Mendel”), an employee of PEMGroup, has stated that after the SEC filed
the present case, he spoke with Anderson about the allegations underlying the complaint.
CV-90 (06/04)                          CIVIL MINUTES - GENERAL                               Page 7 of 23
 Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 8 of 23 Page ID #:7551

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                  Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

Mendel Decl. ¶ 2. Supposedly, Anderson told Mendel that he had never heard anyone, including
Pang or Aboubakare, ever say that PEMGroup was involved in a Ponzi scheme. Id.

                6.    The Loans

                      a.    PEMGroup Loans

       Beginning in at least 2007, Pang began causing multiple transfers from accounts held by
the BVI entities to accounts held by PEMGroup. For instance, on November 21, 2007, Quon
emailed Pang to inform him that “[w]e have only $18k in available limit on our AMEX and I
project a cash need of $1.3M by the end of next week and I haven’t received the Global Exec
invoice for the Dubai trip yet.” Perez Decl., Ex. 1; Quon Decl. ¶ 12, Ex. 3 (same). Quon then
asked, “Any thoughts on how we are going to service our cash crunch? Can you borrow funds
from GVECR IV?” Perez Decl., Ex. 1; Quon Decl. ¶ 12, Ex. 3 (same). Later that day, Pang
responded, “Go ahead to borrow 5 mil.” Perez Decl., Ex. 1; Quon Decl. ¶ 12, Ex. 3 (same).

      One month later, Perez, the Assistant Vice President and Controller of PEMGroup, asked
Pang and Quon via email whether she could transfer $1.5 million from GVEC IV to PEMGroup.
Perez Decl. ¶ 4 & Ex. 2; Quon Decl. ¶ 13 & Ex. 4. Thirty minutes after making that request,
Pang responded, “That’s fine. Thanks.” Perez Decl. ¶ 4 & Ex. 2; Quon Decl. ¶ 13 & Ex. 4.

       In 2008, Pang continued to authorize tranches within the BVI entities to loan monies to
PEMGroup. On January 22, 2008, for example, he approved a transfer of $500,000 from
GVECR IV to PEMGroup. Perez Decl. ¶ 5 & Ex. 3; Quon Decl. ¶ 14 & Ex. 5. Then, on July
28, 2008, he caused a tranche within the GVECR II offering to loan PEMGroup $3 million.
Perez Decl. ¶ 6 & Ex. 4; Quon Decl. ¶ 15 & Ex. 6. A few months after that, on November 25,
2008, Pang caused GVECR II to loan $2 million to PEMGroup. Perez Decl. ¶ 7 & Ex. 5.

       Apparently, the investor funds were being used to at least partly fund PEMGroup’s
operating expenses. See, e.g., Perez Decl. ¶ 7 & Ex. 5 (indicating that loans were used for
“payroll, payment for Disney Cruise, remittance of Taipei and monthly expenses”); see also
Anderson Decl. ¶ 5. For instance, Pang provided his entire staff with a cruise on a Disney boat
at an expense of $1 million. See Receiver’s First Status Report (“FSR”) ¶ 7; Quon Decl. ¶ 11.
The year before the Disney cruise, Pang treated his staff to a $1.5 million trip to China. See FSR
¶ 7; Quon Decl. ¶ 11. Pang also used investor funds to expand PEMGroup’s Beijing and
Shanghai offices. Anderson Decl. ¶ 5 (noting that “portfolio assets were used for, among other

CV-90 (06/04)                         CIVIL MINUTES - GENERAL                               Page 8 of 23
 Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 9 of 23 Page ID #:7552

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                 Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

things, PEMGroup operating expenses, such as an office retreat and office space in Shanghai”);
see also Quon Decl. ¶ 11; Aboubarake Decl. ¶ 24.

      To date, approximately $16 million in loans made to PEMGroup from the BVI entities
remain outstanding. FSR ¶ 7; Quon Decl. ¶ 17.

                      b.    Loans to Pang and Entities He Controlled

       During the relevant time period, Pang also took, on behalf of himself or companies that he
controls, somewhere between $9.5 million and $11 million in unsecured loans from the tranches.
Compare FSR ¶ 7 & Perez Decl. ¶¶ 12-13 & Ex. 14 with Anderson Decl. ¶ 3. For instance, on
January 31, 2008, Pang approved a $2 million loan from GVECR IV to LSPC, Inc., which is an
entity owned by Pang. Quon Decl. ¶ 18 & Ex. 8. Then, on April 22, 2008, Perez transferred $1
million from a GVECR IV entity to an account designated by Pang that does not appear to be
connected to PEMGroup or the investors. Perez Decl. ¶ 9; Quon Decl. ¶ 19 & Ex. 10. In
addition to the foregoing, on April 23, 2008 Pang instructed Quon to transfer $1.5 million to
another entity controlled by Pang, Nevada Capital Development Partners. Quon Decl. ¶ 20 &
Ex. 11.

        In total, it appears that beginning in 2008, Pang took “personal loans” in the amount of
$9.5 million, of which only $2.6 million has been repaid. See Perez Decl. ¶ 12 & Ex. 14; FSR ¶
7; Quon Decl. ¶ 23; cf. Anderson Decl. ¶ 3 (estimating that $8 million remains unpaid). No
contemporaneous formal documentation was created in connection with the loans from the BVI
entities to Pang and/or the various entities he controls. Quon Decl. ¶ 23.

                7.    The Commissions

        Pang charged millions of dollars in excessive commissions. Anderson Decl. ¶ 6.
Although these commissions were supposed to be paid to PEMGroup after it had succeeded in
acquiring the pertinent life insurance contracts, Pang, beginning in late 2007, began directing
PEMGroup to pay “commissions” on life insurance deals that had not yet closed. FSR ¶ 7. The
money that was used to pay these “commissions” was borrowed from several of the GVEC
entities. Id. In total, about $13 million was borrowed from investors to pay these
“commissions” to PEMGroup investors. Id.; see also Anderson Decl. ¶ 6.

      Notably, the deals upon which the aforementioned commissions were based were never
consummated. FSR ¶ 7; Quon Decl. ¶ 25. Despite this, the money was not returned to the
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                              Page 9 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 10 of 23 Page ID #:7553

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                   Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

tranches. FSR ¶ 7. Rather, it was split – 25% to PEMG to support its operation and 75% to
companies owned and controlled by Pang. Id. There is no loan documentation surrounding
these transactions. Id.

                8.    The Aircraft Purchases

        Defendants also used investor money to fund the purchase of two jets. Anderson Decl. ¶
7; Perez Decl., Ex. 16 (letter from Pang and Quon authorizing the transfer of $11 million for the
purpose of purchasing the aircraft); Quon Decl. ¶ 27. The subject of purchasing a corporate
aircraft was first discussed at a PEMGroup board meeting. Aboubakare Decl. ¶ 23. Although
Aboubakare expressed concern at the meeting that PEMGroup did not have sufficient funds to
purchase an aircraft, Pang allegedly replied that he would “find a way” to make the purchase
happen. Id. Apparently, Pang was able to obtain funds for the purchase of the aircraft by
ordering the loans of somewhere between $11 million and $15 million from certain of the GVEC
II and/or GVECR IV timeshare offerings to Inter Travel and Services, Inc. (“ITS”), an entity that
is controlled by PEMGroup. Perez Decl., Ex. 11; Anderson Decl. ¶ 7; Quon Decl. ¶ 27;
Aboubakare Decl. ¶ 23. It appears that investors were never told that their funds would be used
to purchase these aircrafts. Kao Decl. ¶ 28; Aboubakare Decl. ¶ 23.

      In total, it is estimated that Pang purchased three executive jet aircraft for an amount
exceeding $35 million. FSR ¶ 7.

                9.    Aboubarake’s Theft of $4 Million

       During the relevant time period, Aboubakare misappropriated approximately $4.6 million
from investors. FSR ¶ 7; Quon Decl. ¶ 28. When confronted about this misappropriation,
Aboubarake agreed to repay approximately $4 million. Quon Decl. ¶ 29. Aboubarake
eventually did repay this money. FSR ¶ 7; Quon Decl. ¶ 29. However, it was not returned to
investors. Instead, it was paid to Pang and several other PEMGroup employees, including Quon.
FSR ¶ 7; Quon Decl. ¶ 30.

III.     Discussion

       Presently before the Court is the SEC’s application for preliminary injunction, to which
Pang has filed an opposition. However, before turning to the issue of whether the SEC has
established a prima facie case of previous violations of federal securities laws, the Court first

CV-90 (06/04)                          CIVIL MINUTES - GENERAL                             Page 10 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 11 of 23 Page ID #:7554

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                                 CIVIL MINUTES - GENERAL

    Case No.     CV 09-2901 PSG (Ex)                                       Date     July 2, 2009
    Title        Securities and Exchange Commission v. Private Equity Management Group, Inc.

addresses Pang’s contention that the Court should strike the declarations of Messrs. Quon,
Aboubakare, and Anderson, and portions of Ms. Cebeci’s declaration.

            A.   Whether the Court Should Strike the Declarations of Messrs. Quon, Aboubarake,
                 and Anderson, and Portions of the Declaration of Ms. Cebeci

       It is Pang’s position that the Court should strike the aforementioned declarations on
various grounds, depending on the declaration at issue. Accordingly, the Court takes up Pang’s
contention in relation to each declaration, beginning first with Quon’s and Aboubarake’s.

                 1.    Whether to Strike Quon and Aboubakare’s Declarations

       Pang argues that the Court should strike the declarations of Quon and Aboubakare for
essentially two reasons. First, he contends that the SEC should not be allowed to use the
declarations of witnesses who invoked their Fifth Amendment privileges during depositions in
order to avoid any cross-examination of their testimony.3 And, second, he argues that these
declarations are inherently unreliable and, therefore, should not be considered by the Court. For
the reasons that follow, the Court believes that striking these declarations is inappropriate.

       As an initial matter, the Court notes that there appears to be no dispute that on May 14,
2009, Quon did in fact regularly invoke the Fifth Amendment numerous times while being
deposed by Pang’s counsel, see Regenstreif Decl., Ex. 2, and that on June 10, 2009, Aboubakare
did the same. The only dispute here is whether striking these two declarations is an appropriate
sanction.

       In support of his position that striking the declarations is in fact warranted, Pang cites to
three circuit opinions, wherein the circuit courts affirmed the lower courts’ decisions to sanction
a party when he or his witness refused to answer questions on cross-examination. The first case
3
 To be sure, in his opposition, Pang initially argued that the Court should strike Anderson’s declaration
because Anderson invoked his Fifth Amendment privilege, and contended that the Court should strike
Aboubakare’s declaration because Aboubakare had avoided having his deposition taken. However, at
oral argument, it was brought to the Court’s attention that subsequent to the filing of the SEC’s reply
brief, Aboubakare had in fact been deposed, and that, at the deposition, Aboubakare invoked his Fifth
Amendment privilege in response to all questions directed at his declaration. In light of these new facts,
Pang abandoned his initial argument with respect to Aboubakare, and instead requested the Court strike
Aboubakare’s declaration on the ground that he had invoked his Fifth Amendment privilege during his
deposition.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 11 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 12 of 23 Page ID #:7555

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                                 CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                        Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

cited by Pang, United States v. King, 200 F.3d 1207 (9th Cir. 1999), involved an appeal from a
conviction of bank fraud and wire fraud. Among other things, the defendant challenged his
conviction on the ground that the district court erred when it allowed the prosecution to impeach
his direct testimony by continuing to elicit his unprivileged refusal to answer. Id. at 1217. After
observing that “[o]nce a defendant testifies, he exposes himself to full cross-examination
concerning matters relevant to his testimony,” the Ninth Circuit went on to note that when a
defendant refuses to answer questions on cross-examination, a district court may impose a
number of sanctions, including the one assessed in that case and the one requested in this case,
striking a witness’ testimony. Id. at 1216-17 (citations omitted).

         The other two circuit opinions cited by Pang are out-of-circuit opinions. In In re
Edmond, 934 F.2d 1304 (4th Cir. 1991), the Fourth Circuit reviewed a lower court’s decision to
strike a moving party’s affidavit submitted in support of its motion for summary judgment. On
review, the Fourth Circuit first observed that by invoking his Fifth Amendment privilege, the
moving party had attempted to insure that his unquestioned, unverified affidavit would be the
only version of facts before the court. Id. at 1308. But, according to the Fourth Circuit, “[T]he
Fifth Amendment privilege cannot be invoked as a shield to oppose depositions while discarding
it for the limited purpose of making statements to support a summary judgment motion.” Id.
Accordingly, the Fourth Circuit went on to affirm the lower court’s decision to strike the moving
party’s affidavit. Id.

        A similar result was reached in Lawson v. Murray, 837 F.2d 653 (4th Cir. 1988). There,
the defendant presented Larry Bellamy (“Bellamy”) as a witness. On cross-examination,
Bellamy invoked his Fifth Amendment privilege against self-incrimination. Id. at 655. Upon
doing so, the prosecutor requested that the trial court strike Bellamy’s testimony in chief. Id.
The trial court eventually granted this request, and later found the defendant guilty of the charges
asserted against him. Id. The district court, on review of the defendant’s habeas petition,
concluded that the trial judge’s striking of Bellamy’s testimony worked an unconstitutional
denial of the defendant’s right to present witnesses in his defense. Id. The Fourth Circuit,
however, disagreed. As an initial matter, the Fourth Circuit stated that a defendant’s right to
present witnesses in his own defense does not carry with it the right to immunize the witness
from reasonable and appropriate cross-examination. Id. The Fourth Circuit then went on to note
that “[t]he fifth amendment provides no immunity from cross-examination for a witness who
elects to testify; it is not a ‘positive invitation to mutilate the truth a party offers to tell.’” Id. at
656 (quoting Brown v. United States, 356 U.S. 148, 156, 78 S. Ct. 622, 2 L. Ed. 2d 589 (1958)).
After reviewing these principles, the Fourth Circuit then determined that the trial judge had
issued an appropriate sanction. Lawson, 837 F.2d at 656.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                Page 12 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 13 of 23 Page ID #:7556

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                                CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                    Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.


        The SEC argues that these cases are inapposite because of the differences in the
procedural postures of those cases and the procedural posture of this case. More specifically, the
SEC contends that since preliminary injunctions are customarily granted on the basis of
procedures that are less formal and evidence that is less complete than in a trial on the merits, see
Univ. of Texas v. Camenisch, 451 U.S. 390, 395, 101 S. Ct. 1830, 68 L. Ed. 2d 175 (1981), the
Court need not strike the declarations of these witnesses simply because they hindered Pang’s
efforts to cross-examine them.

        This Court is not aware of any case that has dealt with this exact issue in depth, nor do the
parties direct the Court to any case directly on point. Indeed, as far as this Court is aware, only
one court has addressed this issue in the context of an application for temporary restraining order
or preliminary injunction. In Two Wheel Corp. v. Am. Honda Corp., 506 F. Supp. 806
(E.D.N.Y. 1980), a district court in the Eastern District of New York stated in a footnote that it
exercised its discretion to not consider the affidavits of some witnesses because they had not
been subjected to cross examination. Id. at 816 n.11. However, as the district court did not
engage in much analysis on this issue, Two Wheel Corp. is largely unhelpful to this Court.
Nevertheless, while the immediate issue is unusual, the Court is not without guidance in
resolving it.

       The decision of whether to grant a motion to strike is committed to the sound discretion
of the Court. See El Pollo Loco, Inc. v. Hashim, 316 F.3d 1032, 1038 (9th Cir. 2003); see also
U. S. v. Cardillo, 316 F.2d 606, 613 (2nd Cir. 1963) (“[W]hether all or a part of the testimony
should be stricken, must depend upon the discretion of the trial judge exercised in the light of the
particular circumstances.”); Two Wheel Corp., 506 F. Supp. at 816 n.11. In exercising this
discretion, courts generally have to balance competing concerns that are distinctive to the
particular action at hand. Such is the case here. On the one hand, the Court does not want to
make routine the practice of considering declarations of witnesses who have asserted the Fifth
Amendment privilege during a deposition. For obvious reasons, this Court wants to have a full
picture of the particular facts of each case before it renders a decision. Given that cross-
examination “test[s] the credibility of the witness and the truthfulness of his earlier testimony,”
Lawson, 837 F.2d at 656, this Court is reluctant to issue a ruling based on evidence that has not
yet been effectively tested.

        At the same time, though, the Court must acknowledge that applications for preliminary
injunctions, on the one hand, and motions for summary judgment and trials, on the other hand,
are of a different ilk. Camenisch, 451 U.S. at 395; Flynt Distrib. Co., Inc. v. Harvey, 734 F.2d
CV-90 (06/04)                          CIVIL MINUTES - GENERAL                              Page 13 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 14 of 23 Page ID #:7557

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                                CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                     Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

1389, 1394 (9th Cir. 1984). There is good reason why courts apply the Federal Rules of
Evidence with less force at the preliminary injunction stage than they do at later stages in the
proceedings. Such is often necessary given the emergency circumstances under which
applications for preliminary injunctions are submitted. Camenisch, 451 U.S. at 395 (“[G]iven
the haste that is often necessary if those positions are to be preserved, a preliminary injunction is
customarily granted on the basis of procedures that are less formal and evidence that is less
complete than in a trial on the merits.”).

       In balancing these competing concerns, the Court understands that its discretion must be
guided by “reason and fairness.” See King, 200 F.3d at 1217 (citing Panza, 612 F.2d at 439).
Using reason and fairness as guides, the Court believes that it is inappropriate to strike the
declarations of Quon and Aboubakare simply because these witnesses invoked their Fifth
Amendment privileges at their deposition. As noted above, one of the primary benefits of cross-
examination is to test the truthfulness of a witness’ testimony. Lawson, 837 F.2d at 656. And,
oftentimes, cross-examination is the only way to ensure that evidence is in fact credible.
Importantly, though, this case is not one of those cases where cross-examination is necessary to
complete this task. Rather, this is a case where the Court can test the truthfulness of the witness’
testimony by cross-referencing his testimony with the (challenged and unchallenged) testimony
of other witnesses, as well as a plethora of unchallenged documents. It is of great significance
that Quon’s and Aboubakare’s declarations do not only corroborate each other’s stories, but they
also corroborate the stories told by Anderson, Perez, and the Receiver. See generally Anderson
Decl., Perez Decl., FSR. It is also of great significance that many of the documents on which
Quon’s declaration are based are in fact attached to a declaration submitted by Pang, see
Regenstreif Decl., and are also attached to Perez’s declaration, which Pang has not objected to.

       The point being made here is that this is not a case where it is unclear whether the
declarant’s testimony is reliable and where cross-examination is a necessary tool. Rather, this is
a case where the reliability and credibility of the challenged declarations can easily be assessed
(and confirmed) by cross-referencing the other evidence in the record. Accordingly, striking
these declarations is unwarranted.

        Now it should be noted that in ruling as it does now, the Court does not mean to suggest
that the invocation of the Fifth Amendment has no consequence in this case. Indeed, this fact
undoubtedly has relevance. However, that relevance goes more to weight than anything else.
See Oakland Tribune, Inc. v. Chronicle Pub. Co., 762 F.2d 1374, 1377 (9th Cir. 1985).


CV-90 (06/04)                          CIVIL MINUTES - GENERAL                              Page 14 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 15 of 23 Page ID #:7558

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                                 CIVIL MINUTES - GENERAL

    Case No.    CV 09-2901 PSG (Ex)                                       Date    July 2, 2009
    Title       Securities and Exchange Commission v. Private Equity Management Group, Inc.

       Therefore, for the foregoing reasons, the Court denies Pang’s request to strike the two
declarations on the ground that Quon and Aboubarake invoked the Fifth Amendment at their
depositions. So too does the Court deny Pang’s request to strike the two declarations on the
ground that they are inherently unreliable. Granted, given their admitted complicity in the
alleged securities fraud and checkered pasts, the Court has every reason to look skeptically upon
Quon’s and Aboubarake’s testimony. However, as noted above, these two individuals’
testimony is largely consistent with all other evidence that has so far been proffered in this case,
including that evidence submitted by people not complicit in the alleged fraud. Accordingly, the
Court finds that while Quon’s and Aboubarake’s motives in providing the testimony are
undoubtedly relevant to this case, those motives and all other indicia of unreliability are more
properly relegated to the issue of weight. See Oakland Tribune, 762 F.2d at 1377.

                2.    Whether to Strike Anderson’s Declaration

       Pang also requests that the Court strike the declaration of Anderson for two alternative
reasons. First, Anderson avoided having his deposition taken. And, second, his declaration is
also supposedly “inherently unreliable.” Both of these arguments can be rejected for the same
reason.

        Striking a witness’ direct testimony is an “extreme sanction,” United States v. Seifert, 648
F.2d 557, 561 (9th Cir. 1980), one that should only be employed by a court after a party has
demonstrated that she has taken adequate steps to protect her own rights. Here, Pang has not
taken these steps. Anderson never appeared for his deposition. Regenstreif Decl. ¶ 15. But
rather than bring a motion to compel, Pang instead has chosen to raise this issue at this juncture.
It is not the province of this Court to ensure that parties protect their own rights. Pang should
have taken adequate steps to protect his rights. His failure to do so preludes him from now
succeeding on this argument.4

        For similar reasons, the Court disagrees that whatever “inherent[] unreliability” this
declaration has is cause to strike it. The Court understands that there are indeed facts before the
Court that suggest that the testimony of Anderson is unreliable, and that Anderson’s declaration
is largely conclusory. There are also various instances where Anderson had an opportunity to


4
 In ruling as it does now, the Court does not mean to imply that Anderson’s failure to appear at properly
served and noticed deposition has no consequences. Indeed, this fact will go to the weight the Court
will give his statements. Oakland Tribune, 762 F.2d at 1377.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                               Page 15 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 16 of 23 Page ID #:7559

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                                 CIVIL MINUTES - GENERAL

    Case No.     CV 09-2901 PSG (Ex)                                   Date    July 2, 2009
    Title        Securities and Exchange Commission v. Private Equity Management Group, Inc.

corroborate Aboubarake’s testimony but suspiciously failed to do so.5 But each of these facts
goes to weight. They do not, however, provide a sufficient basis for striking Anderson’s
declaration.

                 3.    Whether to Strike Portions of Cebeci’s Declaration

       Lastly, the Court addresses Pang’s argument that the Court should strike those portions of
Cebeci’s declaration concerning what Gibson, Dunn and Aboubarake allegedly told the SEC.
Pang’s request to strike rests in part on his assertion that none of the Gibson Dunn lawyers
mentioned in the declaration have been willing to appear at properly noticed depositions.
Regenstreif Decl. ¶¶ 16-17. As noted above, it was incumbent upon Pang to take appropriate
action to protect his rights. Accordingly, his failure to do so is reason enough to reject this
argument.

        Pang also argues that the Court should strike this declaration because it contains hearsay.
However, as noted above, at this stage in the proceedings, the Court can consider evidence that
does not conform with the Federal Rules of Evidence, or that would otherwise be inadmissible at
a trial on the merits. See Flynt, 734 F.2d at 1394 (rejecting appellant’s argument that the district
court improperly considered affidavits based on hearsay); see also Camenisch, 451 U.S. at 395.

                 4.    Conclusion

      Based on the foregoing, the Court denies Pang’s requests to strike the declarations of
Messrs. Quon, Aboubarake, Anderson, and Ms. Cebeci.

            B.   Whether the SEC Has Established a Prima Facie Case of Securities Fraud

       The Court next considers whether Plaintiff has established a prima facie case of previous
violations of Section 17(a) of the Securities Act of 1933 and Section 10(b) of the Securities
Exchange Act of 1934. In order to establish violations of both of these sections, the SEC must
prove (1) that Defendants made a material misstatement or omission (2) in connection with the
offer or sale of a security (3) by means of interstate commerce. SEC v. Phan, 500 F.3d 895, 907-
08 (9th Cir. 2007). Violations of these sections require scienter. Id. at 908.

5
 For example, Aboubarake has testified that Pang admitted to him and Anderson, “[W]e are in a $25
million Ponzi scheme.” Aboubakare Decl. ¶ 22. Anderson’s declaration, however, makes no mention
of this statement.
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                            Page 16 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 17 of 23 Page ID #:7560

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                  Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

       Pang essentially argues that the SEC cannot establish any of these elements and, for that
reason, the Court should not issue the preliminary injunction. However, for the reasons
explained below, the Court disagrees.

                1.    Whether Defendants Made Material Misstatements of Omissions in
                      Connection with the Offer or Sale of a Security

        A review of the record indicates that the SEC has in fact presented sufficient evidence to
demonstrate actionable misrepresentations and omissions on the part of Defendants in the sale or
offer of securities. For example, there is evidence that Defendants presented investors with
falsified documents. Indeed, as shown by the SEC, Pang authorized and approved a forged
insurance policy, which was later shown to Bank Sinopac. See Aboubarake Decl. ¶¶ 27-28; Kao
Decl. ¶ 17.

       Not only did Defendants present investors with falsified documents, but Defendants also
misrepresented to investors the source of their interest payments. Defendants never informed
Bank Sinopac that interest payments for its life settlement investments would be paid from funds
that PEMGroup had received from investors in the timeshare investments. Kao Decl. ¶ 28.

       Defendants also neglected to mention to investors that their monies would be used to
provide loans to PEMGroup, Pang, and entities within Pang’s control. The record is clear:
Defendants used portfolio assets to fund certain PEMGroup operating expenses, such as
increasing office space abroad. Perez Decl. ¶ 7 & Ex. 5; Anderson Decl ¶ 5; Quon Decl. ¶ 11;
Aboubarake Decl. ¶ 24. Defendants also used portfolio assets to take PEMGroup employees on
a $1.5 million trip to China as well as a cruise on a Disney boat at an expense of $1 million.
FSR ¶ 7; Quon Decl. ¶ 11. In addition to these expenses, Defendants used more than $35 million
in investor monies to purchase executive jet aircrafts for PEMGroup. See FSR ¶ 7; cf. Anderson
Decl. ¶ 7 (“I have also determined . . . that the purchases of two jets were initially funded with
investor money.”); Aboubarake Decl. ¶ 23. These costs were never disclosed to investors. FSR
¶ 7.

       In addition to the foregoing, the SEC has sufficiently demonstrated that Pang
misappropriated investor funds for personal use. Starting in late 2007, Pang authorized the
payment of $13 million in advance commissions for life insurance policies that were scheduled
to be purchased in 2008. See FSR ¶ 7. Despite the fact that these policies were never purchased,
the commissions were never returned to the investor funds. Id.; cf. Anderson Decl. ¶ 6. There is
also evidence that Pang took, on behalf of himself or companies that he controls, approximately
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                            Page 17 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 18 of 23 Page ID #:7561

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                  Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

$11 million in unsecured loans from PEMGroup. See Anderson Decl. ¶ 3; see also FSR ¶ 6;
Perez Decl. ¶¶ 12-13 & Ex. 14.

        Now it is Pang’s position that these claims of excessive and improper expenses by
Defendants are not cognizable claims under the federal securities laws for three different
reasons. First, there is no evidence that these omissions occurred “in connection with” the sale
of securities. Second, at most, these transactions, if unjustified or unauthorized, would amount
to violations of a fiduciary duty owed by Defendants to investors; they would not, however,
constitute fraud in connection with the sale of securities. Lastly, Pang contends that the SEC has
failed to show that these expenses were improper under the CPOMs. Each of these arguments
can, however, be rejected for similar reasons.

        Of note, three facts are undisputed. First and foremost, Defendants represented to
potential investors that they would invest their funds. Second, the CPOMs were provided to
potential investors in connection with the sale of securities. It is also undisputed that these
CPOMs provide that PEMGroup is entitled to certain fees on the monies raised from the
Taiwanese banks for the BVI entities, see, e.g., Regenstreif Decl., Ex. 8 at 6, and that the BVI
entities had wide latitude and discretion on how investor monies would be used. See id., Ex. 10
at 22-23 (“The Issuer will invest any remaining capital assets as recommended by the Issuer
Investment Committee and directed by the Manager. These assets may consist of real estate . . .
securities . . . asset backed debt financing . . . and any other business opportunities at the
discretion of the Manager.”); see also id. at Ex. 8 at p. 4.

       Beginning first with the CPOMs, Pang seizes on the aforementioned provisions, and other
provisions in the same vein, as evidence that Defendants’ expenditures were entirely justified
under the relevant agreements. But surely this cannot be the case. While the investors may have
agreed to provide PEMGroup with certain fees, implicit in that arrangement is a promise that the
fees would only be paid for work performed. Pang cannot honestly believe that the parties to the
agreements contemplated that PEMGroup would be able to retain millions of dollars in unearned
commissions for transactions that were never consummated. Similarly, while the CPOMs may
have granted PEMGroup discretion to invest the monies raised from investors, certainly the
CPOMs did not grant PEMGroup discretion to use the monies raised to fund lavish operating
expenses.

      Perhaps most importantly of all, in speaking with potential investors, Pang and other
PEMGroup employees represented that they would in fact invest the investors’ monies
(primarily) in two different investment plans—those related to life settlement contracts and those
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                            Page 18 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 19 of 23 Page ID #:7562

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                                 CIVIL MINUTES - GENERAL

    Case No.    CV 09-2901 PSG (Ex)                                        Date     July 2, 2009
    Title       Securities and Exchange Commission v. Private Equity Management Group, Inc.

related to timeshares. However, there is sufficient evidence that demonstrates that rather than
invest those monies, Defendants repeatedly made loans to PEMGroup and other entities that
Pang owned, many of which have never been repaid. Certainly when the investors purchased
securities from Defendants, they did not envision that Defendants would engage in such lending
practices, particularly when those practices yield absolutely no benefit to the investors.

        The Court recognizes that not every misappropriation of investor monies amounts to a
violation of the federal securities laws. See generally SEC v. Zandford, 535 U.S. 813, 820, 122
S. Ct. 1899, 153 L. Ed. 2d 1 (2002) (“While the statute must not be construed so broadly as to
convert every common-law fraud that happens to involve securities into a violation of § 10(b),
neither the SEC nor this Court has ever held that there must be a misrepresentation about the
value of a particular security in order to run afoul of the Act.”) (internal citations omitted). But
where, as here, the misappropriations coincide with the sale of securities, the misappropriations
are properly considered violations of the federal securities laws. See id. at 822. The investors in
this case were led to believe that their investments would primarily be used to purchase life
settlement contracts or timeshares. However, their investments were used to pay unearned fees,
fund an exorbitant overhead that remains unjustified and unexplained, and make loans to
PEMGroup, Pang and entities that he owns. Investors were also led to believe that their
investments were covered by a certain amount in insurance, when this was not in fact the case.
And, lastly, they were told that their interest payments would come from the profits of certain
assets, when in fact some of these payments came from funds that PEMGroup received from
investors in other investments. For these reasons, the Court finds that the SEC has successfully
established previous violations of the federal securities laws.6

                2.    Whether the Court Has Jurisdiction Over this Case

       In addition to arguing that there is insufficient evidence that Defendants made material
misstatements or omissions in the offer or sale of securities, Pang also argues that there is
insufficient evidence that they did so by means of interstate commerce.7
6
  As the Court finds these instances of conduct to be sufficient evidence of Defendants’ past violations
of the federal securities laws, the Court declines to consider the significance of the other instances of
Defendants’ conduct that the SEC believes constitutes the same violations.
7
  At an earlier stage in this proceeding, Pang argued strenuously that the investments at issue were not
“securities” as that term is understood under the federal securities laws. It since appears that Pang has
abandoned that argument. See Opp. at 25:14-15. However, even if Pang’s opposition could be read to
place at issue whether the investments are securities, clearly they are. Under the Securities Act,
“security” has a “broad” definition sufficient “to encompass virtually any instrument that might be sold
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 19 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 20 of 23 Page ID #:7563

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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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                                 CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                        Date     July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.


        Pang is correct that each of the federal statutory provisions under which the SEC has
asserted claims “extends its proscriptions to certain forms of fraudulent activity conducted by the
use of ‘any means or instrumentality of transportation or communication’ in commerce between
the states or between any foreign country and a state.” Grunenthal GmbH v. Hotz, 712 F.2d 421,
423-24 (9th Cir. 1982). Thus, “[t]here must . . . be some degree of connection between the fraud
and conduct in, or effects on, the United States.” Id. at 424. However, for the reasons that
follow, the Court disagrees with Pang that such a connection is absent in this case.

        The principles governing jurisdiction in a case like this are clearly set out in Grunenthal.
First, “consistent with the established objectives of the federal securities laws, we have
recognized that ‘the jurisdictional hook need not be large to fish for securities law violations.’”
Id. (citations omitted). Nonetheless, “[t]he conduct in the United States cannot be merely
preparatory . . . [it] must be material, that is directly cause the losses.” Id. As the Ninth Circuit
later explained in Butte Mining PLC v. Smith, 76 F.3d 287 (9th Cir. 1996), “Vigilant and mature
as our securities laws are, they are not to be invoked unless substantial steps in the perpetuation
of the fraud were taken here or the criminal conduct engaged in affected our securities markets
or American investors.” Id. at 291.

        In support of his position that the conduct in this case is “merely preparatory,” Pang
attempts to draw an analogy between this case and Butte Mining. However, this attempt is in
vain. In Butte Mining, the plaintiffs’ federal securities law claim against the defendants was
based on a stock swap between one of the plaintiffs and fifteen United Kingdom companies. In
finding that the federal securities laws did not apply in that case, the Ninth Circuit emphasized
that the “United States [was] not a haven for the Defendants because except for [one of the
defendants] and his lawyer, they are not here and have not operated from here.” Id. at 291.
Indeed, the scheme alleged therein “was devised abroad and completed in the United Kingdom.”
Id.

as an investment.” See SEC v. Edwards, 540 U.S. 389, 393, 124 S. Ct. 892, 157 L. Ed. 2d 813 (2004)
(citation omitted). This definition includes “any note, stock, treasury stock, security future, bond,
debenture, . . . investment contract, . . . [or any] instrument commonly known as a ‘security.’” Id. As
indicated by the partial private placement memorandum for the life settlement contract investments
submitted by Plaintiff, see Cebeci Decl., Exs. 2-3, the transactions at hand involve notes. Thus, they are
presumptively securities. SEC v. J.T. Wallenbrock & Assocs., 313 F.3d 532, 536 (9th Cir. 2002). The
particular scheme at hand also appears to be an investment contract, as it involves “an investment of
money in a common enterprise with profits [that] come solely from the efforts of [Defendants].” SEC v.
W.J. Howey Co., 328 U.S. 293, 301, 66 S. Ct. 1100, 90 L. Ed. 1244 (1946).
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                 Page 20 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 21 of 23 Page ID #:7564

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                                  CIVIL MINUTES - GENERAL

    Case No.     CV 09-2901 PSG (Ex)                                         Date    July 2, 2009
    Title        Securities and Exchange Commission v. Private Equity Management Group, Inc.

        Unlike the defendants in Butte, many of the “substantial steps” that Defendants took in
perpetuation of the fraud at hand were taken and completed in the United States. Indeed, the
record is replete with numerous examples of emails sent, ostensibly from the United States,8 in
which Pang approves the misappropriation of funds from investors to either PEMGroup, himself,
or entities under his control. For instance, on November 26, 2007, Pang caused GVEC IV 2006
C to lend $1.5 million to PEMGroup for a trip to Dubai. See Perez Decl. ¶ 3 & Ex. 1. The
aforementioned Disney cruise and trips to Taipei were also paid out of investor funds, and were
explicitly approved by Pang. See id. at ¶ 7 & Ex. 5. So too is there uncontroverted evidence that
Pang took personal loans from investment funds. See id. at ¶ 12 & Ex. 14.

       In addition to the foregoing, there is also evidence that some of the investors in this case
actually came to the United States to receive assurances with respect to their potential
investments. Most notably, two representatives from Bank Sinopac traveled to Irvine, California
in October of 2006 to conduct due diligence on a timeshare offering they were planning on
purchasing. Kao Decl. ¶ 14. While in Irvine, these representatives also received information
concerning the life settlement offerings, which they eventually invested in. See id. Besides
attending meetings in Irvine, the representatives also visited Napa, California to view the
timeshare assets they were planning on investing in. Id. at ¶ 16.

        As the foregoing demonstrates, this is not a case, like Butte, where a scheme was devised
abroad and completed abroad. Rather, it appears that the decisions made by Pang regarding how
to use the investors’ monies were largely made from the United States. For this reason alone, the
Court finds that, contrary to Pang’s arguments otherwise, the conduct in this case was not
“merely preparatory.” Rather, as the conduct that took place in this country was significant with
respect to the alleged violations and furthered the fraudulent scheme, the Court finds the conduct
to be material, thereby supporting a finding that the Court does indeed have jurisdiction in this
case. See Grunenthal, 712 F.2d at 425.

            C.   Whether the SEC Has Established a Reasonable Likelihood that the Wrong Will
                 Be Repeated



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 As the signature line of each email indicates that Pang is located in Irvine, it appears that these emails
were in fact sent from the United States. Indeed, Pang has not presented any evidence to the contrary.
Additionally, the Court notes that the fact that these emails were written by Pang is reason enough to
reject Pang’s overarching argument that the alleged misconduct is not tied to him.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                  Page 21 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 22 of 23 Page ID #:7565

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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                                   Date    July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.

       Having determined that the SEC has established a prima facie case of past violations of
the federal securities laws, the next and final step in the Court’s analysis is to determine whether
the SEC has established that there is a reasonable likelihood that the wrong will be repeated. See
SEC v. Mgm’t Dynamics, 515 F.2d 801, 807 (2d Cir. 1975).

        As the SEC correctly notes, the Ninth Circuit has recognized that an inference arises from
a defendant’s past violations that future violations are likely to occur. See SEC v. Koracorp
Indust., Inc., 575 F.2d 692, 698 (9th Cir. 1978). But more importantly, a careful review of the
record demonstrates that there is a reasonable likelihood that the wrong will be repeated. The
infractions at issue were not isolated occurrences. They spanned a number of years with respect
to a number of different investors. Thus, the Court believes that an inference can be properly
drawn that there is reasonable likelihood that the wrong will be repeated. Indeed, nowhere in his
opposition does Pang make any assurances to suggest otherwise.

      For the foregoing reasons, the court finds that the SEC has established that there is a
reasonable likelihood that the wrong will be repeated.

IV.      Conclusion

       Based on the foregoing, the Court GRANTS the SEC’s application for preliminary
injunction and appointment of permanent receiver.


         IT IS SO ORDERED.




CV-90 (06/04)                          CIVIL MINUTES - GENERAL                             Page 22 of 23
Case 2:09-cv-02901-PSG-E Document 202 Filed 07/02/09 Page 23 of 23 Page ID #:7566

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                           UNITED STATES DISTRICT COURT
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                               CIVIL MINUTES - GENERAL

 Case No.       CV 09-2901 PSG (Ex)                               Date   July 2, 2009
 Title          Securities and Exchange Commission v. Private Equity Management Group, Inc.




CV-90 (06/04)                         CIVIL MINUTES - GENERAL                       Page 23 of 23
